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           ORDERED in the Southern District of Florida on January 17, 2024.




                                                               Laurel M. Isicoff, Judge
                                                               United States Bankruptcy Court
___________________________________________________________________________
                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                               MIAMI DIVISION



           INRE:
           NATHALIA SAPUCAHY KLINAR                                     CASE NO. 17-17222-LMI
                                                                        CHAPTER 13
                                   Debtor(s)      /

                               ORDER DISCHARGING ORDER TO SHOW CAUSE

                   THIS CASE came upon the Order to Show Cause for Failure to File LF-97 [Docket Entry

           No. 86], and based upon the record, it is:

                   ORDERED as follows:

              1.      The Order to Show Cause is DISCHARGED as the Certificate of Compliance, Motion

                      for Issuance of Discharge and Notice of Deadline to Object was filed by the Debtor on

                      January 3, 2024 [Docket Entry No. 89].

              2.      The Hearing on said Order scheduled for January 9, 2024 at 9:00 a.m. is CANCELLED



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Submitted By:

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Attorney Patrick L. Cordero, Esq. is directed to serve a conformed copy of this Order on all
interested parties immediately upon receipt hereof and to file a certificate of service.
